                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                                Plaintiff,       )
                                                 )
                v.                               )       No. 08-00159-01-CR-W-NKL
                                                 )
JUAN A. GALLEGOS,                                )
                                                 )
                                Defendant.       )


                             ACCEPTANCE OF PLEA OF GUILTY
                              AND ADJUDICATION OF GUILT

        Pursuant to the Report and Recommendation of United States Magistrate John Maughmer,

to which no objection has been filed, the plea of guilty to Counts 1, 3, 6 and the lesser included offense

of Count 8 of the Indictment is now accepted. Defendant is adjudged guilty of such offenses.

Sentencing will be set by subsequent order of the court.


                                                          s/ NANETTE K. LAUGHREY
                                                         NANETTE K. LAUGHREY
                                                         United States District Judge

Dated: November 20, 2008




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